'-' ~'l. -,...

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1 'poA1aoa.1 mm 001,11=3_10 1011011\ 1011sanbw 0111 uaqM pca/uss 1(111:01011 uooq pnq suomums 0111_11 ueqx umwa 01 amp slow
pomona s11uspua_10p 11 2101/uss Su1A1eM ££1 '1uspu010p1311113u1e80 uaw aq ,(ecu 1uau18pnf 11na_10p a ‘am11 51111 u11.111A1 pa/uos 10u s1 110110u1
10 nMsua am 11 'unoa _0111 1111)11 asuods:u 011110 l(don pauE1s a 0111 osla1sn1u puc1u181du100 0111 01 osuodsm a (1111u1e|d paluase.lda:un
10) ,(au.\oua 53111111\1111 0111 110 o,uas uuo_; 101111¢.1 =1.11 110 pcggoads sum 0111 u11111M 1smu 001/uss selma/11 011,1\ wepua_;cp v

'111311010 u:mq seq u01101a 011101011/11 could 0010110 unoo 0111 10 u01101ps1.m_f 0111 01 qua 1211;1 £am puc ‘(suouzums 0111_10

901,1195 0111 01 10 suo\uums 0111 01$11111:10.1 Aua zdoaxo) su01100_(q0 pua sasuojap 110 su11110.1 suoulums :111_10 001/uss some/11 011/11 Aned V

‘Au:)doxd 10 named 511 mm 10 uog:m 0111_10 101111111 1001an 0111.10,10 1101101psgn_fs>101z1 111111111100 11 u110 wald xad01d1u1 ue ug 1112nn1q
uaaq seq 1101100 01.11111111.10 ‘papuno;un s1 111101du100 0111111111:0,1=11011 mud 1110111 ca1/1105 mem 01 01n11e_1 11 101 asnna pooB 1011 s1 11

' '1011_11:/1\ 0111 umw puc u81s 0101111111_1 s1_110_1

lmch aq asnea pooS m1un aoyuas q:ms_;o 1500 2111 maq o1pa.11nbo.1 sq 111/4 as op 01 s11a_1 ‘suomums _10 001/nas aAgnm 015;1313 p011u[1 3111 111

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0111 _10 001/uss _10 nscc hussmann 3111/ms u1 0191=1!000 o11w11md uguuao s011nba.1 ampoaoxd 11/1_1;),10 solon 1a10po:1 001 _10 y emg

suoummg 10 aa1uag_1o s1so;_) hassaaauug p1oAv 01 £111(1

Lr.chmz_-xaa a.Lvuoauo:>) (:-1'1.11.1.)
_10 sV

 

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' '(.Lems sm J.sanbau a.Lva) .
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